                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

LEE STOLLER,

     Plaintiff,                                     CASE NO.:

V.


DISCOVER PRODUCTS, INC.,

     Defendant.


                       COMPLAINT AND DEMAND FOR JURY TRIAL

          COMES NOW, ,Plaintiff, LEE STOLLER, by and through the undersigned counsel, and

sues Defendant, DISCOVER PRODUCTS, INC. , and in support thereof respectfully alleges

violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. ("TCPA").

                                         INTRODUCTION

           1.     The TCPA was enacted to prevent companies like DISCOVER PRODUCTS,

INC. from invading American citizen's privacy and to prevent abusive "robo-calls."

           2.     "The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls." Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).

           3.     "Senator Hollings, the TCPA's sponsor, described these calls as ' the scourge of

modern civilization, they wake us up in the morning; they inten-upt our dinner at night; they

force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the

wall." 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

subscribers another option: telling the autodialers to simply stop calling." Osorio v. State Farm

Bank, F.S.B. , 746 F. 3d 1242 (11 111 Cir. 2014).




          Case 3:19-cv-00088 Document 1 Filed 01/17/19 Page 1 of 8 PageID #: 1
       4.      According to the Federal Communications Commission (FCC), "Unwanted calls

are far and away the biggest consumer complaint to the FCC with over 200,000 complaints each

year - around 60 percent of all the complaints .. . Some private analyses estimate that U.S .

consumers     received    approximately     2.4    billion   robocalls    per   month     m     2016."

https://www.fcc.gov/about-fcc/fcc-initiatives/fccs -push-combat-robocalls-spoofing

                                 JURISDICTION AND VENUE

        5.     Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

        6.     Subject matter jurisdiction, federal question jurisdiction, for purposes of this

action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts

shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and this action involves violations of 47 U.S.C . § 227(b)(l)(A)(iii). See

Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,

746 F.3d 1242, 1249 (11th Cir. 2014).

       7.      The alleged violations described herein occurred in Davidson County, Tennessee.

Accordingly, venue is appropriate with this Court under 28 U .S.C. §139l(b)(2), as it is the

judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.

                                   FACTUAL ALLEGATIONS

       8.      Plaintiff is a natural person, and citizen of the State of Tennessee, residing in

Davidson County, Tennessee.

       9.      Plaintiff is the "called party." See Breslow v. Wells Fargo Bank, NA., 755 F. 3d

1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014).


                                                  2

      Case 3:19-cv-00088 Document 1 Filed 01/17/19 Page 2 of 8 PageID #: 2
       I 0.    Defendant is a corporation with its principal place of business located at 2500 S.

Lake Park Boulevard, West Valley City, Utah 84120 and which conducts business in the State of

Tennessee through its registered agent, C T Corporation System, located at 800 S. Gay Street,

Suite 2021, Knoxville, Tennessee 37929.

       11 .    Defendant called Plaintiff approximately two hundred (200) times in an attempt to

collect an alleged debt. Due to the amount of telephone calls Plaintiff received from Defendant,

he was unable to properly catalogue each and every call, thus an accurate number of calls will be

determined after a thorough review of Defendant's records and Plaintiffs telephone records.

       12.     Upon information and belief, some or all of the calls Defendant made to

Plaintiffs cellular telephone number were made using an "automatic telephone dialing system"

which has the capacity to store or produce telephone numbers to be called, using a random or

sequential number generator (including but not limited to a predictive dialer) or an artificial or

prerecorded voice; and to dial such numbers as specified by 47 U.S .C § 227(a)(l) (hereinafter

"autodialer calls"). Plaintiff will testify that he knew it was an autodialer because of the vast

number of calls he received, he heard a pause when he answered his phone before a voice came

on the line and he received prerecorded messages from Defendant.

       13.     Plaintiff believes the calls were made using equipment which has the capacity to

store numbers to be called and to dial such numbers automatically.

       14.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone .

number (615) ***-7739, and was the called party and recipient of Defendant' s calls.

       15.     Defendant placed an exorbitant number of automated calls to Plaintiff's cellular

telephone (615) *** -7739 in an attempt to collect an alleged debt.




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      Case 3:19-cv-00088 Document 1 Filed 01/17/19 Page 3 of 8 PageID #: 3
        16.    Upon receipt of the telephone calls from Defendant, Plaintiff's caller ID identified

the calls were being initiated from, but not limited to, the following telephone number: (800)

374-2123.

        17.    On several occasions over the last four (4) years, Plaintiff instructed Defendant's

agent(s) to stop calling his cellular telephone.

        18.    In or about May 2016, Plaintiff communicated with Defendant from his

aforementioned cellular telephone number and instructed Defendant's agent to cease calling his

cellular telephone number.

        19.    During the aforementioned call in or about May 2016 Plaintiff unequivocally

revoked any express consent Defendant may have believed they had for placement of telephone

calls to Plaintiff's aforementioned cellular telephone number by the use of an automatic

telephone dialing system or a pre-recorded or artificial voice.

       20.     Each subsequent call Defendant made to the Plaintiffs aforementioned cellular

telephone number was made without the "express consent" of the Plaintiff.

       21.     Each subsequent call Defendant made to the Plaintiffs aforementioned cellular

telephone number was knowing and willful.

       22.     Despite actual knowledge of its wrongdoing, Defendant continued the campaign

of abuse, calling Plaintiff despite Plaintiff revoking any express consent Defendant may have

believed it had to call his aforementioned cellular telephone number.

       23.     Again, in or about June 2016, Plaintiff communicated with Defendant from his

aforementioned cellular telephone number and demanded Defendant's agent comply with his

previous demand and cease calling his cellular telephone number.

       24.     Plaintiffs repeated requests for the harassment to end were ignored.


                                                   4

      Case 3:19-cv-00088 Document 1 Filed 01/17/19 Page 4 of 8 PageID #: 4
        25.    Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice to individuals just as they did to Plaintiff's cellular telephone in

this case.

        26.    Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice, just as they did to the Plaintiffs cellular telephone in this case,

with no way for the consumer, or Defendant, to remove the number.

        27.    Defendant's corporate policy is structured so as to continue to call individuals like

Plaintiff, despite these individuals explaining to Defendant they do not wish to be called.

        28.    Defendant has numerous other federal lawsuits pending against them alleging

similar violations as stated in this Complaint.

        29.    Defendant has numerous complaints against it across the country asserting that its

automatic telephone dialing system continues to call despite being requested to stop.

        30.    Defendant has had numerous complaints against it from consumers across the

country asking to not be called, however Defendant continues to call these individuals.

        31.    Defendant's corporate policy provided no means for Plaintiff to have Plaintiffs

number removed from Defendant's call list.

        32.    Defendant has a corporate policy to harass and abuse individuals despite actual

knowledge the called parties do not wish to be called.

        33.    Not one of Defendant's telephone calls placed to Plaintiff were for "emergency

purposes" as specified in 47 U.S.C. § 227(b)(l)(A).

        34.    Defendant willfully and/or knowingly violated the TCPA with respect to Plaintiff.




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      Case 3:19-cv-00088 Document 1 Filed 01/17/19 Page 5 of 8 PageID #: 5
        35.     From each and every call placed without express consent by Defendant to

Plaintiffs cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon

his right of seclusion.

       36.     From each and every call without express consent placed by Defendant to

Plaintiffs cell phone, Plaintiff suffered the injury of the occupation of his cellular telephone line

and cellular phone by unwelcome calls, making the phone unavailable for legitimate callers or

outgoing calls while the phone was ringing from Defendant's calls.

       37.     From each and every call placed without express consent by Defendant to

Plaintiffs cell phone, Plaintiff suffered the injury of unnecessary expenditure of his time. For

calls he answered, the time he spent on the call was unnecessary as he repeatedly asked for the

calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the phone and deal

with missed call notifications and call logs that reflect the unwanted calls. This also impaired the

usefulness of these features of Plaintiffs cellular phone, which are designed to inform the user of

important missed communications.

       38.     Each and every call placed without express consent by Defendant to Plaintiffs

cell phone was an injury in the form of a nuisance and annoyance to the Plaintiff. For calls that

were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for

unanswered calls, Plaintiff had to waste time to unlock the phone and deal with missed call

notifications and call logs that reflected the unwanted calls. This also impaired the usefulness of

these features of Plaintiffs cellular phone, which are designed to inform the user of important

missed communications.




                                                 6

      Case 3:19-cv-00088 Document 1 Filed 01/17/19 Page 6 of 8 PageID #: 6
         39.      Each and every call placed without express consent by Defendant to Plaintiffs

cell phone resulted in the injury of unnecessary expenditure of Plaintiff's cell phone's battery

power.

         40.      Each and every call placed without express consent by Defendant to Plaintiff's

cell phone where a voice message was left which occupied space in Plaintiff's phone or network.

         41.      Each and every call placed without express consent by Defendant to Plaintiff's

cell phone resulted in the injury of a trespass to Plaintiff's chattel, namely his cellular phone and

his cellular phone services.

         42.      As a result of the calls described above, Plaintiff suffered an invasion of privacy.

Plaintiff was also affect in a personal and individualized way by stress, embarrassment and

aggravation.

                                              COUNT I
                                       (Violation of the TCPA)

         43.      Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty-two

(42) as if fully set forth herein.

         44.      Defendant willfully violated the TCPA with respect to Plaintiff, specifically for

each of the auto-dialer calls made to Plaintiff's cellular telephone after Plaintiff notified

Defendant that Plaintiff wished for the calls to stop

         45.      Defendant repeatedly placed non-emergency telephone calls to Plaintiff's cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without

Plaintiff's prior express consent in violation of federal law , including 47 U.S.C §

227(b )(1 )(A)(ii i).

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against DISCOVER PRODUCTS, INC. for statutory damages, punitive damages,

                                                   7

       Case 3:19-cv-00088 Document 1 Filed 01/17/19 Page 7 of 8 PageID #: 7
actual damages, treble damages, enjoinder from further violations of these parts and any other

such relief the court may deem just and proper.

                                             Respectfully submitted,




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                                                  8

      Case 3:19-cv-00088 Document 1 Filed 01/17/19 Page 8 of 8 PageID #: 8
